




NO. 07-04-0590-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MARCH 13, 2006



______________________________





ROBERT D. HUDSON, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2004-405111; HONORABLE JIM BOB DARNELL, JUDGE



_______________________________



Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

Following a plea of not guilty, appellant Robert D. Hudson was convicted by a jury of murder and sentenced to life imprisonment. &nbsp;In presenting this appeal,
 counsel has filed an 
Anders
(footnote: 1) brief in support of a motion to withdraw. &nbsp;We grant counsel’s motion and affirm.

In support of his motion to withdraw, counsel certifies he has diligently reviewed the record and, in his opinion, the record reflects no reversible error upon which an appeal can be predicated. &nbsp;Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); Monroe v. State, 671 S.W.2d 583, 585 (Tex.App.–San Antonio 1984, no pet.).
 Thus, he concludes the appeal is frivolous. &nbsp;In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Cr.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court's judgment. &nbsp;Counsel has also shown that he sent a copy of the brief to appellant and informed appellant that, in counsel's view, the appeal is without merit. &nbsp;In addition, counsel has demonstrated that he notified appellant of his right to review the record and file a 
pro se
 response if he desired to do so. &nbsp;Appellant did not file a response. &nbsp;Neither did the State favor us with a brief.

By his 
Anders
 brief, counsel raises several grounds that could arguably support an appeal. &nbsp;
We have reviewed these grounds 
and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal. &nbsp;
See
 &nbsp;Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Cr.App. 2005). &nbsp;We have found no such grounds and agree with counsel that the appeal is frivolous.

Accordingly, counsel's motion to withdraw is hereby granted and the judgment of the trial court is affirmed.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice



Do not publish.

FOOTNOTES
1:Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).




